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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

CamelBak Products, LLC
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:20−cv−03947
                                                                   Honorable Thomas M.
                                                                   Durkin
The Partnerships and Unincorporated Associations
Identified on Schedule "A"
                                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 5, 2020:


        MINUTE entry before the Honorable Thomas M. Durkin: Plaintiff's Motion for
Entry of a Preliminary Injunction [19] is granted. Enter Preliminary Injunction Order.
Plaintiff's oral motion to unseal Temporary Restraining Order [13] is granted. The Clerk's
office is directed to unseal the Temporary Restraining Order [13]. Plaintiff's counsel is
ordered to add ALL Defendant names listed in Schedule A to the docket within three
business days. Instructions can be found on the court's
websitewww.ilnd.uscourts.com/instructions. Mailed notice(sxw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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